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                            EXHIBIT 1
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                          REDACTED
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                          ENTIRETY
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                            EXHIBIT 2
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                          REDACTED
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                            EXHIBIT 3
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                          REDACTED
                            IN ITS
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                            EXHIBIT 4
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                          REDACTED
                            IN ITS
                          ENTIRETY
